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 this Court explained that the Court’s intention was to require exhaustion of “all

 claims … as supplemented by … subsequent pleadings.” Order, ECF No. 119, at 1-2.

 Mr. Cade’s First Amended Petition is 190 pages long.1 ECF No. 79. In response to the

 State’s assertions of procedural and other affirmative defenses, Mr. Cade also filed a

 reply of 50 pages. ECF No. 50. The State was permitted to file a sur-reply, to which

 this Court permitted Mr. Cade to file a “final reply” of no more than 22 pages, Order,

 ECF No. 113, of which Mr. Cade used 18 pages. ECF No. 114.

         This Court directed that Mr. Cade present the state court with “all of the claims

 he has presented to this Court in his latest operative pleading, as well as all factual

 theories and all evidence supporting those claims.” Order, ECF No. 119, at 2. This

 Court’s orders indicate the Court wanted the state courts to have an opportunity to

 consider “all factual and legal theories” that Mr. Cade contends support his claims,

 Order, ECF No. 121, at 1, so that, if Mr. Cade returned to federal court, this Court

 would have before it the same factual and legal assertions the state court considered.

         With that understanding, Mr. Cade filed in the state courts a subsequent ha-

 beas application 364 pages long (in 14-point font), and included all the legal theories

 and factual averments of the first amended petition, reply, and “final reply” that bear

 on the constitutional standards under which Mr. Cade seeks relief, and the legal the-

 ories and factual averments relevant to the procedural standards for review common

 to Texas law and federal law. Mr. Cade also added and subtracted allegations and




     1This Court authorized Mr. Cade to file an amended petition of no more than
 200 pages. Order, ECF No. 66, at 8.


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 legal arguments related to some claims and incorporated by specific reference the

 allegations of some claims into other claims.

        This Court explained that requiring Mr. Cade to present all his factual and

 legal theories to the state court would render moot all issues regarding exhaustion.

 Order, ECF No. 119, at 2-3. After the state court refused to consider Mr. Cade’s sub-

 sequent habeas application, this Court directed him to “file … a second amended pe-

 tition for federal habeas corpus relief setting forth all remaining claims Cade wishes

 this Court to consider in this cause.”2 Order, ECF No. 122, at 1. It is Mr. Cade’s un-

 derstanding that this Court’s orders regarding exhaustion and amendment envi-

 sioned that Mr. Cade’s post-exhaustion amendment should replicate the allegations

 and argument that Mr. Cade presented to the state courts. See Order, ECF No. 119,

 at 3 (directing Mr. Cade to include all claims he wishes this Court to consider “and

 all of the factual allegations supporting those same claims that he wishes to raise in

 this court”).3 If Mr. Cade must alter the claims he presents to this Court, it may




    2  The post-exhaustion order directs Mr. Cade to “accompany his amended peti-
 tion with unsealed copies of any and all documents he wishes this Court to consider
 in ruling on his federal habeas claims.” Order, ECF No. 122, at 1. Mr. Cade under-
 stands this provision to refer to all documents presently available to him, and not to
 foreclose the possibility of discovery, record expansion, or an evidentiary hearing
 under Rules 6, 7, and 8 of the Rules Governing § 2254 Cases in the District Courts,
 respectively.
    3  Although it was not clear whether procedural issues were included in this
 Court’s order, due to this Court’s threat of dismissal if Mr. Cade did not comply, Or-
 der, ECF No. 119, at 3-4, Mr. Cade included allegations and evidence relevant to
 procedural issues that were not clearly covered by Texas law.


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 undermine this Court’s stated goal of “avoid[ing] a plethora of procedural problems

 once Cade return[s] to this court.”4 Order, ECF N. 121, at 2.

         This Court’s post-exhaustion order also effectively lifted application of Local

 Rule 5.4 and Miscellaneous Order No. 13, and required that Mr. Cade exceed the

 requirements of Rule 2(c) of the Rules Governing § 2254 Cases in the District Courts

 (“Habeas Rules”), by requiring that Mr. Cade “set forth the … legal basis for all

 grounds for federal habeas corpus relief under Title 28 U.S.C. §2254 that Cade wishes

 this Court to consider.” Order, ECF No. 122, at 1. Local Rule 5.4, Miscellaneous Order

 No. 13, and the instructions in the form appended to Habeas Rule 2 tell habeas peti-

 tioners not to cite or argue law.5

         For Mr. Cade’s second amended petition to include the same allegations and

 legal theories that he presented to the state courts, the pleading will be approxi-

 mately 325 pages long.

         Mr. Cade seeks a full and fair opportunity to present his claims for relief, and

 to respond to the State’s defenses against those claims in a manner sufficient to be




     To be clear, as Mr. Cade stated in his objections to the exhaustion order, Mr.
     4

 Cade believes the order will lead to procedural problems.
     5 See Bounds v. Smith, 430 U.S. 817, 824 (1977) (“a habeas corpus petition …
 need only set forth facts giving rise to the cause of action …”); Johnson v. Puckett,
 929 F.2d 1067, 1070 (5th Cir. 1991) (“Traditionally, a petition need only ‘allege the
 facts concerning the applicant’s commitment or detention;’ it need not plead the
 law.”), cert. denied, 502 U.S. 898 (1991) (footnotes and citations omitted); Jones v.
 Jerrison, 20 F.3d 849, 853 (8th Cir. 1994) (“No statute or rule requires that a peti-
 tion identify a legal theory or include citations to legal authority.”); Habeas Rule
 2(c); Local Rule 5.4; Misc. Order No. 13.


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 fully heard and to preserve issues for any appeal. See Maverick Recording Co. v. Har-

 per, 598 F.3d 193, 198 (5th Cir. 2010).

       Congress has mandated that federal courts “shall entertain” claims by a person

 in custody pursuant to a state court judgement alleged to have been rendered in vio-

 lation of the Constitution. 28 U.S.C. § 2254(a). In § 2254(a), “Congress has demon-

 strated its solicitude for the vigor of the Great Writ.” Johnson v. Avery, 393 U.S. 483,

 485 (1969). Through statutes such as the Antiterrorism and Effective Death Penalty

 Act, the Habeas Rules (as amended since AEDPA’s enactment), and case law, “Con-

 gress, the Rule writers, and the courts have developed more complex procedural prin-

 ciples that regularize” habeas corpus review. Lonchar v. Thomas, 517 U.S. 314, 320

 (1996). These procedures “reduce uncertainty, avoid unfair surprise, minimize dis-

 parate treatment of similar cases, and thereby help all litigants, including the State,

 whose interests in ‘finality’ such rules often further.” Id. at 324. Pursuant to those

 rules, “if the district court lacks authority to directly dispose of the petition on the

 merits” under Habeas Rule 4, “it would abuse its discretion by attempting to achieve

 the same result indirectly” through procedural means. Id. at 320 (for instance, by

 denying stay before considering a first petition).

       In addition to his statutory right to present claims of constitutional error, Mr.

 Cade has a First Amendment right of access to the courts. California Motor Transport

 Co. v. Trucking Unlimited, 404 U.S. 508, 510 (1972) (citing Johnson, 393 U.S. at 485).

 The First Amendment’s Petition Clause creates “a facilitative right to bring a suit

 without official impediment.” Hinds v. Dallas Indep. Sch. Dist., 188 F. Supp. 2d 664,




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 673 (N.D. Tex. 2002) (citing Fifth Circuit authorities that in turn cite Supreme Court

 cases). The Petition Clause ensures “that a citizen has the opportunity to exercise his

 or her legal rights to present a cognizable claim to the appropriate court and, if that

 claim is meritorious, to have the court make a determination to that effect and order

 the appropriate relief.’” Hinds, 188 F. Supp. 2d at 673 (quoting Foster v. City of Lake

 Jackson, 28 F.3d 425, 430 (5th Cir. 1994) (in turn quoting Crowder v. Sinyard, 884

 F.2d 804, 814 (5th Cir. 1989), cert. denied, 496 U.S. 924 (1990)).

       Thus, a prisoner’s right to petition for a writ of habeas corpus “may not be

 denied or obstructed,” Johnson, 393 U.S. at 485, in such a way that “possibly valid

 constitutional claims will never be heard in any court.” Id. at 487. In other words,

 when a prisoner seeks review of constitutional claims by habeas corpus, “post-convic-

 tion proceedings must be more than a formality.” Id. at 486. Applying Local Rule 7.5

 to preclude Mr. Cade from pleading in federal court the claims he was compelled to

 file in state court—and that the state court refused to hear—while also meeting this

 Court’s requirement for legal argument, would create an unconstitutional impedi-

 ment to Mr. Cade’s valid constitutional claims and render the post-conviction pro-

 ceeding a formality.

         While the First Amendment right to petition courts for redress of claims ap-

 plies to common law, statutory and constitutional claims, under § 2254(a), as appli-

 cable to this case, the focus is on the Constitution. Accordingly, federal habeas proce-

 dures must not “violate the spirit, and perhaps the letter, of Simmons v. United

 States, 390 U.S. 377, 394 (1968),” Bittaker v. Woodford, 331 F.3d 715, 723-724 & n.7




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 (9th Cir. 2003) (en banc), by requiring that one constitutional right be “surrendered

 in order to assert another.” Simmons, 390 U.S. at 374.

       Mr. Cade recognizes that “First Amendment rights may not be used as the

 means or the pretext for achieving ‘substantive evils’ … which the legislature has the

 power to control,” California Motor Transp., 404 U.S.at 515, and that this Court has

 the authority to adopt and enforce rules that are not inconsistent with the Constitu-

 tion, statutes, or rules. 28 U.S.C. § 2071(a). Mr. Cade has timely and substantively

 complied with all statutes and rules that regulated the presentation of such claims,

 including the statute of limitations, 28 U.S.C. § 2244(d), the pleading requirements

 of Habeas Rule 2, and case law related to replies filed under Habeas Rule 5(e). Ac-

 cordingly, Mr. Cade should have a full and fair opportunity to be heard on all matters

 bearing on this Court’s consideration of his constitutional claims.

       Mr. Cade also recognizes this Court’s supervisory power over lawyers practic-

 ing before it. He understands that this Court also recognizes that

          Even a sensible and efficient use of the supervisory power … is in-
          valid if it conflicts with constitutional or statutory provisions. A
          contrary result “would confer on the judiciary discretionary power
          to disregard the considered limitations of the law it is charged with
          enforcing.”

 Thomas v. Arn, 474 U.S. 140, 148 (1985) (quoting United States v. Payner, 447 U.S.

 727, 737 (1980)). Accordingly, Mr. Cade merely seeks confirmation that the Court’s

 prior orders intended that the second amended petition would be comprehensive of

 the claims made in state exhaustion proceedings.




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                         CERTIFICATE OF CONFERENCE


       On July 26, 2021, undersigned counsel for Mr. Cade conferred with counsel for

 Respondent, Assistant Attorney General Cara Hanna, who authorized Mr. Cade to

 state that Respondent is opposed to the relief sought in this Motion.

                                         ***

       FOR THE FOREGOING REASONS, this Court should enter the attached pro-

 posed order authorizing Mr. Cade to file a second amended petition of no more than

 325 pages.

 DATED: July 26, 2021                   Respectfully submitted,


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                           CERTIFICATE OF SERVICE

       I hereby certify that on the 26th day of July 2021, I electronically filed the

 foregoing Petitioner’s Opposed Motion for Additional Pages with the Clerk of Court

 using the CM/ECF system which will send notification of such filing to all counsel of

 record.




                                        TIVON SCHARDL




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